                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                            Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                             Plaintiffs,

v.                                                            No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                             Defendant.



CALLA WRIGHT, et al.,

                             Plaintiffs,

v.                                                            No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                             Defendants.

______________________________________________________________________________

                  MOTION TO WITHDRAW AS COUNSEL
________________________________________________________________________


       COMES NOW, George E. Eppsteiner, counsel for Plaintiffs, pursuant to LR

83.1(g) and hereby moves the Court to allow the withdrawal of his appearance as counsel

for Plaintiffs in this action. In support thereof, the undersigned states as follows:

       1. The undersigned has accepted an employment position out of state and no




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longer will be employed with the Southern Coalition for Social Justice after July 15,

2016.

        2. As a result thereof, the undersigned will no longer be in a position to represent

Plaintiffs in this action.

        3. Remaining counsel of record for the Plaintiffs will remain as counsel to the

Plaintiffs in this action.

        WHEREFORE, the undersigned respectfully requests this Honorable Court grant

the instant Motion and enter an Order, attached as Exhibit A, discharging George

Eppsteiner as counsel for the Plaintiffs with an effective date of July 16, 2016.

This the 12th day of July, 2016                   Respectfully submitted,



                                                  By:    /s/ George E. Eppsteiner
                                                  Anita S. Earls (State Bar #15597)
                                                  Allison J. Riggs (State Bar #40028)
                                                  George E. Eppsteiner (State Bar #42812)
                                                  Southern Coalition for Social Justice
                                                  1415 West Highway 54, Suite 101
                                                  Durham, NC 27707
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                                                  Attorneys for Plaintiffs




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this date I served a copy of the foregoing Motion to

Withdraw as Counsel, with service to be made by electronic filing with the Clerk of the

Court using the CM/ECF System, which will send a Notice of Electronic Filing to all

parties with an e-mail address of record, who have appeared and consent to electronic

service in this action.

       This the 12th day of July, 2016.

                                                 /s/ George E. Eppsteiner
                                                 George E. Eppsteiner
                                                 N.C. State Bar No. 42812
                                                 Southern Coalition for Social Justice
                                                 1415 W. Highway 54, Suite 101
                                                 Durham, NC 27707
                                                 Telephone: 919-323-3380
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                                                 Counsel for Plaintiffs




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